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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.1
                                Eastern Division

Dr. William P. Gress
                                          Plaintiff,
v.                                                      Case No.: 1:19−cv−02444
                                                        Honorable Charles R. Norgle Sr.
Doctor Investment Group, LLC, et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, July 11, 2019:


       MINUTE entry before the Honorable Charles R. Norgle: Motion for Entry of
Default against defendant Doctor Investment Group, LLC [7] is granted. The parties are
not required to appear before the court on Friday, July 12, 2019. Mailed notice(ewf, )




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